   Case: 4:20-cv-01138-AGF Doc. #: 1 Filed: 08/25/20 Page: 1 of 3 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

KEVIE HENDRIX,                    )
                                  )                    Cause No.:      4:20-cv-1138
            Plaintiff,            )
                                  )                    Circuit Court of St. Louis City
vs.                               )                    Cause No.: 2022-CC00848
                                  )
LANTON AUTOMOTIVE, LLC            )                    JURY TRIAL DEMANDED
d/b/a MIDAS AUTO SERVICE EXPERTS, )
                                  )
            Defendants.           )

                          DEFENDANT’S NOTICE OF REMOVAL

       COMES NOW Defendant, LANTON AUTOMOTIVE, LLC, and hereby files this Notice

of Removal of the above captioned matter, originally filed in the Circuit Court for the Cit y of St.

Louis, State of Missouri, to the United States District Court for the Eastern District of Missouri,

Eastern Division, pursuant to 28 U.S.C. §1441, and in support thereof respectfully states as

follows:

       1.      Plaintiff filed his petition in the Circuit Court for the City of St. Louis, Missouri on

April 28, 2020. Plaintiff is making various claims against the Defendant, including negligence via

res ipsa loquitor and/or negligence per se and breach of implied warranty, arising out of a motor

vehicle fire which occurred on April 30, 2015. A complete copy of the State Court file, Cause

Number 2022-CC00848, is attached hereto as Exhibit A.

       2.      Plaintiff is a resident and citizen of the State of Missouri.

       3.      Defendant is an LLC and both of its members are citizens of Illinois. Therefore,

for purposes of removal based on diversity of citizenship, Defendant is not a citizen of the State

of Missouri. See GMAC Commercial Credit LLC v. Dillard Dept. Stores, Inc., 357 F.3d 827, 829
    Case: 4:20-cv-01138-AGF Doc. #: 1 Filed: 08/25/20 Page: 2 of 3 PageID #: 2




(8th Cir 2004) (holding that an LLC's citizenship is that of its members for diversity jurisdiction

purposes).

       4.      With regard to the amount in controversy, the Eighth Circuit has held that the

“requirement is satisfied when a fact finder could legally conclude, from the pleadings and the

proof adduced to the court before trial, that the damages are greater than $75,000.” Capital

Indemnity Corp. v. 1405 Assoc., Inc., 340 F.3d 547, 549 (8th Cir. 2003).

       5.      The amount in controversy in this action exceeds Seventy Five Thousand Dollars

($75,000), exclusive of interests and costs as indicated by the nature of the damages sought in

Plaintiff’s Petition. 28 U.S.C. §1332(a). Counsel for Plaintiff has refused Defendant’s requests to

stipulate that Plaintiff is seeking to recover less than $75,000. (See attached email from counsel.)

       6.      Defendant’s Notice of Removal has been timely filed pursuant to 28 U.S.C. §1446,

as Defendant was served on July 29, 2020.

       7.      Because complete diversity of citizenship exists between Plaintiff and Defendant,

and because the amount in controversy in this action exceeds the sum of Seventy Five Thousand

Dollars ($75,000), removal to this Court is proper pursuant to 28 U.S.C. §§ 1332 and 1446.

       8.      Venue is proper in this Court because this action was originally filed in St. Louis

City, Missouri, which is included in this Court’s judicial area. 28 U.S.C. §1441; Local Rule 3-

2.07(A)(1).

       9.      Defendant has, simultaneously with the filing of this Notice of Removal, given

written notice of its filing to Plaintiff and to the Circuit Court of St. Louis City, Missouri.

       10.     Defendant demands a trial by jury on all issues so triable.

       WHEREFORE Defendant, LANTON AUTOMOTIVE, LLC, respectfully requests that the

above-referenced stat court action be removed from the Circuit Court of the City of St. Louis to



                                                   2
   Case: 4:20-cv-01138-AGF Doc. #: 1 Filed: 08/25/20 Page: 3 of 3 PageID #: 3




this Court, and that this Honorable Court accept jurisdiction of the case; and for any further relief

this Court deems just and proper.

                                              BROWN & JAMES, P.C.


                                              /s/ Jackie M. Kinder
                                              Jackie M. Kinder, #52810MO
                                              800 Market Street, Suite 1100
                                              St. Louis, MO 63101-2501
                                              (314) 421-3400
                                              (314) 421-3128 – Fax
                                              jkinder@bjpc.com
                                              Attorneys for Defendant,
                                              Lanton Automotive, LLC d/b/a
                                              Midas Auto Service Experts

                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was sent via the
Court’s electronic filing system this 25th day of August, 2020, to:

        John M. Reynolds
        Tueth, Keeney, Cooper, Mohan &
        Jackstadt, P.C.
        34 N. Meramec, Suite 600
        St. Louis, MO 63105
        jreynolds@tuethkeeney.com
        Plaintiff’s Counsel


                                              /s/ Jackie M. Kinder

#23659058.1




                                                 3
